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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

RON MERCER, KRISTI MERCER, NED
NEWHOF, RINDA NEWHOF, AND THE
FAIR HOUSING CENTER OF WEST
MICHIGAN,
                                                Case No. 2:21-cv-11336-NGE-APP
                        Plaintiffs,             Hon. Nancy G. Edmunds
                                                Magistrate Judge Anthony P. Patti
        vs.

EDWARD ROSE & SONS, INC. d/b/a THE
CROSSINGS APARTMENTS AND
EDWARD ROSE COMPANY, severally and
jointly,

                        Defendants.
                                                /

  STIPULATION AND ORDER RESOLVING PLAINTIFFS’ MOTION TO
          COMPEL WITHOUT PREJUDICE [ECF NO. 34]

        NOW COMES Plaintiffs and Defendants, through their attorneys, and hereby

submit a Stipulation and Order Resolving Plaintiffs’ Motion to Compel.

        1.      On December 28, 2021, Plaintiffs filed their Motion to Compel

complete responses to their first interrogatories 8 and 9 and request to produce 7 and

14. ECF No. 34.

        2.      On January 11, 2022, Defendants filed their Response in Opposition to

Plaintiffs’ Motion to Compel. ECF No. 38.

        3.      On January 18. 2022, Plaintiffs filed their Reply to their Motion to

Compel. ECF No. 39.


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        4.      On January 22, 2022, the parties met and conferred for over an hour

and a half as directed by the Court. See ECF No. 36.

        5.      Plaintiffs and Defendants reached a resolution of Plaintiffs’ pending

Motion, with Plaintiffs agreeing to limit the discovery requests to applicants of a

two-bedroom, two-bathroom unit in 2020, and Defendants agreeing to supplement

applicant materials for applicant results of conditional higher security deposit and

conditional-guarantor along with an explanation of the chart produced on

ER000631-ER000635.

        6.      The Parties further agreed that Plaintiffs’ requests for documents

addressed in their pending motion would be reconsidered after the deposition of a

30(b)(6) witness, noticed for February 9, 2022. The Parties also agree that should

they not be able to reach an agreement regarding renewed requests for documents

resulting from the 30(b)(6) deposition, Plaintiffs’ may renew their current motion.

        7.      The Parties hereby stipulate that Plaintiffs’ Motion to Compel is

resolved, based on Defendants’ agreement to supplement responses and without

prejudice to renew Plaintiffs’ motion should the Parties be unable to reach agreement

about a renewed request for documents arising from the 30(b)(6) deposition.

        8.      Defendants are agreeing to this resolution without waiving any

objections or privileges if Plaintiffs’ motion is renewed.

Respectfully Submitted by:



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 /s/Robin B. Wagner                      /s/ Matthew S. Disbrow
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Dated:



SO ORDERED.



Dated: January 25, 2022                         Anthony P. Patti
                                                U.S. Magistrate Judge




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